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                         UNITED STATES BANKRUPTCY COURT

                                            FOR THE

                            EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

     In the Matter of:
                                                   Chapter 13
     MARK ANTHONY ANDERSON
                                                   Case No. 17-11739-BFK

                           Debtor

                             MOTION TO DISMISS,
                        NOTICE OF MOTION TO DISMISS
                                   AND
                NOTICE OF SCHEDULED HEARING ON THIS MOTION

     Thomas P. Gorman, Chapter 13 Trustee, has filed this motion to dismiss your Chapter
     13 case. The cause for this motion is as follows:
            Pursuant to 11 U.S.C. §1307(c) – The Trustee has received the Debtor's 2017
            tax returns and based on Trustee’s review and calculations the Debtor owes
            $6,241.00 the estate on account of his tax refunds. These funds have not been
            turned over to the Trustee.

            Your rights may be affected. You should read these papers carefully and
     discuss them with your attorney, if you have one in this bankruptcy case. (If you
     do not have an attorney, you may wish to consult one.)
            If you do not wish the court to grant the relief sought in the motion, or if you
     want the court to consider your views on the motion, then on or before five business
     days prior to the hearing date, you or your attorney must:
            File with the court a written response with supporting memorandum as required
            by Local Bankruptcy Rule 9013-1(H). Unless a written response and
            supporting memorandum are filed and served by the date specified, the Court
            may deem any opposition waived, treat the motion as conceded, and issue an
            order granting the requested relief without further notice or hearing. If you mail
            your response to the court for filing, you must mail it early enough so the court
            will receive it on or before five business days prior to the scheduled hearing.
            You must mail a copy to the persons listed below.
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     Notice and Motion to Dismiss
     Mark Anthony Anderson, Case #17-11739-BFK

     Attend the hearing to be held on August 23, 2018 at 9:30 a.m. in Courtroom #1 on
     the 2nd floor, United States Bankruptcy Court, 200 South Washington Street,
     Alexandria, VA 22314. If no timely response has been filed opposing the relief
     requested, the court may grant the relief without holding a hearing.

            A copy of any written response must be mailed to the following persons:

                                   Thomas P. Gorman
                                   300 North Washington Street, Ste. 400
                                   Alexandria, VA 22314

                                   Clerk of the Court
                                   United States Bankruptcy Court
                                   200 South Washington Street
                                   Alexandria, VA 22314


            If you or your attorney do not take steps, the court may decide that you do not
     oppose the relief sought in the motion and may enter an order granting that relief.

     Date: __July 20, 2018______                         __/s/Thomas P. Gorman________
                                                         Thomas P. Gorman
                                                         Chapter 13 Trustee
                                                         300 N. Washington Street, #400
                                                         Alexandria, VA 22314
                                                         (703) 836-2226
                                                         VSB 26421

                                CERTIFICATE OF SERVICE

     I hereby certify that I have this 20th day of July, 2018, served via ECF to authorized
     users or mailed a true copy of the foregoing Motion to Dismiss, Notice of Motion and
     Notice of Hearing to the following parties.

     Mark Anthony Anderson                        Nathan Fisher, Esq.
     Chapter 13 Debtor                            Attorney for Debtor
     1411 Admiral Drive                           Fisher-Sandler, LLC
     Woodbridge, VA 22192                         3977 Chain Bridge Rd. #2
                                                  Fairfax, VA 22030
                                                         ___/s/ Thomas P. Gorman_____
                                                         Thomas P. Gorman
